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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                            GALVESTON DIVISION
JUDE AKUECHIAMA                                                        §
                                                                       §
          Plaintiff,                                                   §
                                                                       §
v.                                                                     §         CIVIL ACTION NO. 3:18-cv-103
                                                                       §
NEW PENN FINANCIAL, LLC AND                                            §
REMY REAL ESTATE AND                                                   §
INVESTMENTS LLC                                                        §
                                                                       §
          Defendants.                                                  §

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